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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG

 MICHAEL A. SPENCER,
     Petitioner,

v.                                                      CIVIL ACTION NO. 3:05CV5
                                                        CRIMINAL ACTION NO. 3:01CR25-2
                                                        (BROADWATER)

UNITED STATES OF AMERICA,
     Respondent.


                  ORDER ADOPTING REPORT AND RECOMMENDATION

         On this day the above styled case came before the Court for consideration of the Amended

Report and Recommendation of Magistrate Judge James E. Seibert (Doc. No. 556), dated April 25,

2006, and petitioner’s corresponding objections (Doc. No. 573), filed July 17, 2006. Pursuant to

28 U.S.C. § 636(b)(1), this Court conducted a de novo review of the above. As a result, the Court

is of the opinion that the Amended Magistrate Judge’s Report and Recommendation (Doc. No. 556)

should be, and is hereby, ORDERED adopted.

         The Court further ORDERS that petitioner’s § 2255 motion (Doc. No. 483) be DENIED and

DISMISSED WITH PREJUDICE based on the reasons set forth in the Magistrate Judge’s Report

and Recommendation. Accordingly, this action shall be STRICKEN from the active docket of this

Court.

         The Clerk is directed to transmit true copies of this Order to the petitioner and all counsel of

record herein.

         DATED this 20th day of October, 2006.



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